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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 TAYA AGRICULTURAL FEED MILL CO.,                   §
                                                    §
                           Plaintiff,               §         CIVIL ACTION NO.
 v.                                                 §
                                                    §         __________________________
 HERITIER BYISHIMO, ALAXCO                          §
 INTERNATIONAL, and JPMORGAN                        §
 CHASE BANK, N.A.,                                  §
                                                    §
                           Defendants.              §

                           PLAINTIFF’S ORIGINAL COMPLAINT

         Plaintiff Taya Agricultural Feed Mill Co. (“Plaintiff”) hereby files this Complaint against

Defendants Heritier Byishimo, Alaxco International (“Alaxco”), and JP Morgan Chase Bank, N.A.

(“Chase Bank,” and together with Mr. Byishimo and Alaxco, “Defendants”), hereby alleges as

follows:

                                             PARTIES

         1.     Plaintiff is an entity organized under the laws of the Kingdom of Saudi Arabia, and

is engaged in the production of livestock and poultry feed.

         2.     Defendant Heritier Byishimo is an individual residing at 1021 Sydnor Street,

Houston Texas, 77020.

         3.     Defendant Alaxco is a purported Texas limited liability corporation with business

offices at 1021 Sydnor Street, Houston Texas, 77020. Alaxco’s purported members reside in

Texas.

         4.     Defendant Chase Bank is a Delaware corporation with an office located at 10611

Broadway Street, Pearland, Texas. Chase Bank may also be served through its registered agent, C

T Corporation System, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.
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                                JURISDICTION AND VENUE

       5.      Plaintiff is a foreign entity, and Defendants are residents of this District. The

amount in controversy exceeds $75,000. Accordingly, this Court has jurisdiction over this

controversy pursuant to 28 U.S. Code § 1332(a).

                                 FACTUAL ALLEGATIONS

       6.      Plaintiff is in the business of producing livestock and poultry feed. In connection

with this business, Plaintiff requires raw materials, including “dried distillers grain in soluble”

(“DDGS”), a protein-rich grain blend.

       7.      In or around November 2020, an entity purportedly named Alaxco approached

Plaintiff, and represented itself as a supplier of DDGS and offered to supply Plaintiff with DDGS.

       8.      Specifically, Alaxco offered to deliver Plaintiff 1000 metric tons of DDGS in

exchange for payment of $305,000. In doing so, Alaxco affirmatively represented to Plaintiff that

it was a supplier of DDGS and that it would be able to supply Plaintiff with DDGS.

       9.      On or about November 13, 2020, Plaintiff entered into a Sales Contract for

Distillers Dried Grains (the “Sales Contract”) with Alaxco. A true and correct copy of the Sales

Contract is attached hereto as Exhibit A.

       10.     Pursuant to the Sales Contract, Defendant Alaxco agreed to deliver to Plaintiff 1000

metric tons of DDGS for a total payment of $305,000. Ex. A.

       11.     Pursuant to the Sales Contract, payment of the $305,000 was to be made 50% in

advance of shipping by Alaxco of the DDGS and the remaining 50% was to be paid after receipt

by Plaintiff of the DDGS. Id.

       12.     Pursuant to the Sales Contract, Alaxco was to ship the DDGS on December 1, 2020.

Id.




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        13.    At the time the Sales Contract was executed, Alaxco provided Plaintiff with an

invoice (the “Alaxco Invoice”) with, among other things, its purported bank account (the

“Fraudulent Bank Account”) information, including its bank (Chase Bank), account name, account

number, and swift code, in order for Plaintiff to make payment via wire of the 50% advance. A

true and correct copy of the Alaxco Invoice is attached hereto as Exhibit B.

        14.    In accordance with the Sales Contract, Plaintiff thereafter made a payment, via

wire, of $152,500 to the Fraudulent Bank Account, representing 50% of the Sales Contract price.

        15.    However, despite Plaintiff making payment of the 50% Sales Contract price,

Alaxco has failed to deliver any DDGS to Plaintiff.

        16.    This is because, unbeknownst to Plaintiff at all times, Alaxco was a fictitious entity

which Mr. Byishimo fabricated and then used, with the assistance of Chase Bank, to defraud

Plaintiff.

        17.    Mr. Byishimo first prepared fake registration documents for Alaxco.

        18.    Those documents included a counterfeit Certificate of Commercial Registration

(the “Counterfeit Registration”) for Alaxco that was purportedly filed with the Texas Secretary of

State in April 2016. A true and correct copy of the Counterfeit Registration is attached hereto as

Exhibit C.

        19.    However, to any sophisticated entity operating in Texas, including Chase Bank, the

Counterfeit Registration was obviously fake and transparently invalid. See Ex. C.

        20.    First, although the Counterfeit Registration identifies account and central registry

numbers for Alaxco, a brief search of the Texas Secretary of State shows not only that both

numbers do not exist, but that there is no record of Alaxco at all.




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       21.     Second, the Counterfeit Registration contains numerous glaring misspellings, mis-

capitalizations, and sections that are improperly completed. For example, the Counterfeit

Registration (i) fails to set forth Defendant Alaxco’s full name (instead using “Alaxco

International” in lieu of the required “Alaxco International LLC”), and (ii) states that the registered

agent for Alaxco is an organization, but then identifies the agent as an individual, Dr. Atiolo

Graham David. Id.

       22.     Third, the Counterfeit Registration identifies Alaxco as a limited liability company

with a registered agent and manager named Dr. Atiolo Graham David and another manager named

Jessica Altina. Id. However, both Dr. David and Ms. Altina are listed as having the same address

as Mr. Byishimo, i.e., 1021 Sydnor Street, Houston, Texas 75001.

       23.     Fourth, Mr. Byishimo is not listed as an officer, manager, or agent of Defendant

Alaxco on the Counterfeit Registration. Id.

       24.     Fifth, the Counterfeit Registration identifies a secondary address for Dr. Atiolo

Graham David as “7786 capital Avenu [sic] Arlington County, Arlington, Tx 75001.” Id. Aside

from the misspelling and mis-capitalization, that address does not exist.

       25.     Sixth, the Counterfeit Registration s dated April 8, 2016 and contains the purported

signature and stamp of Ruth R. Hughs, Secretary of State. Id. However, Ruth R. Hughs did not

become Secretary of State for another three years, in or about August 2019.

       26.     In short, the Counterfeit Registration was clearly fake and identifiable as fake by

any sophisticated Texas party.

       27.     Mr. Byishimo then opened, with the assistance of an employee (the “Chase Bank

Employee”) of Chase Bank at one of its branches located at 10611 Broadway Street, Pearland,

Texas, the Fraudulent Bank Account.




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        28.     Upon information and belief, Mr. Byishimo and the Chase Bank Employee were

personal acquaintances.

        29.     The Chase Bank Employee assisted Mr. Byishimo in opening the Fraudulent Bank

Account by, among other things, accepting knowingly false information from Mr. Byishimo and

allowing Mr. Byishimo to open the account in the name of the fictitious Alaxco entity.

        30.     As set forth below, the Chase Bank Employee knowingly and intentionally

exercised commercially unreasonable banking practices in opening the Fraudulent Bank Account.

        31.     Indeed, a Chase Bank Business Signature Card (the “Chase Card”) for the Fake

Account shows that the account was a Chase Total Business Account in the name of “Heritier

Byishimo dba Alaxco International.” It further shows that the Fraudulent Bank Account was

opened on October 14, 2020, shortly before the fraud committed on Plaintiff. A true and correct

copy of the Chase Card is attached hereto as Exhibit D.

        32.     The Chase Card then lists Mr. Byishimo’s purported individual social security

number as the Taxpayer ID Number. Ex. D. However, a simple review of the numbers makes clear

that it is fake – indeed, it starts with three numbers (854) that do not exist on any social security

number. Id. This fact evidences that the Chase Bank Employee knew that Mr. Byishimo had

provided a fake social security number.

        33.     In addition, as made clear on Chase Bank’s website, “[o]pening a business bank

account    requires   proof   of   identification   for   both   you   and   your   business.”   See

https://business.chase.com/resources/start/what-do-you-need-to-open-a-business-account;          see

also      https://www.chase.com/content/dam/chasecom/en/business-banking/documents/limited-

liability-checklist.pdf.




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          34.   As such, in order to open the Fraudulent Bank Account, Mr. Byishimo necessarily

provided documentation regarding Alaxco, including Alaxco’s Counterfeit Registration.

          35.   However, as set forth above, Alaxco’s Counterfeit Registration is, on its face,

plainly fake. See Ex. C.

          36.   Accordingly, Chase Bank’s Employee who was presented with this registration

information knew or should have known that it was fake and, thus, that Alaxco was not a valid

entity.

          37.   Moreover, and as further evidence that Chase Bank’s Employee knew that Mr.

Byishimo was providing fake documentation and opening a fake bank account, the Counterfeit

Registration provided by Mr. Byishimo identifies Alaxco as a limited liability company with two

managers that were not Mr. Byishimo. However, the Chase Card shows that the account was

opened as “Heritier Byishimo dba Alaxco”, and not as a limited liability company. See Ex. D. In

addition, neither of the managers identified on the Counterfeit Registration is included on the

Chase Card. Compare id. with Ex. C.

          38.   Finally, when Alaxco provided Plaintiff with wire instructions to the Fraudulent

Bank Account, it listed the same address for Alaxco as the address for the Chase Bank Branch

(10611 Broadway Street, Pearland, Texas 77584). See Ex. B.

          39.   Accordingly, the Chase Bank Employee knew that Mr. Byishimo was opening the

Fraudulent Bank Account to defraud Plaintiff and, in fact, defrauded Plaintiff.

                                        COUNT I
                   Fraud – As to Defendants Heritier Byishimo and Alaxco

          40.   Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs as if restated herein.




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       41.     By the fraudulent acts described in paragraphs 6 through 39, Mr. Byishimo willfully

and intentionally defrauded Plaintiff and made or caused to be made false, fraudulent and material

misrepresentations and omissions to Plaintiff concerning the fact that Alaxco was a supplier of

DDGS and that Alaxco could and would supply Plaintiff with DDGS in exchange for payment of

$305,000.

       42.     Mr. Byishimo and Alaxco intentionally made the false, fraudulent and material

misrepresentations and omissions and engaged in the conduct described herein, in order to induce

Plaintiff to transfer $152,500 to Mr. Byishimo and Alaxco for a purported purchase of DDGS.

       43.     At the time that the false, fraudulent and material misrepresentations were made,

Mr. Byishimo and Alaxco knew that they were false, and such statements and acts by Mr.

Byishimo and Alaxco were made and done with the intent of deceiving and defrauding Plaintiff.

       44.     Plaintiff reasonably relied upon Mr. Byishimo’s and Alaxco’s false, fraudulent and

material misrepresentations and omissions, including by entering into the Sales Contract and

wiring funds to the Fraudulent Bank Account.

       45.     As a direct and proximate result of Mr. Byishimo’s and Alaxco’s false, fraudulent

and material misrepresentations and omissions, Plaintiff has been damaged in an amount in excess

of $152,500.

                                        COUNT II
             Fraud and Aiding and Abetting Fraud – As to Defendant Chase Bank

       46.     Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs as if restated herein.

       47.     By the fraudulent acts described in paragraphs 6 through 46, Chase Bank (through

its Chase Bank Employee) willfully and intentionally participated and aided and abetted Mr.

Byishimo and Alaxco to defraud Plaintiff, by, among other things, knowingly participating in



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opening the Fraudulent Bank Account to allow Mr. Byishimo and Alaxco to make or cause to be

made false, fraudulent and material misrepresentations and omissions to Plaintiff concerning the

fact that Alaxco (i) was a legitimate Texas limited liability company, (ii) had a valid bank account

at Chase Bank, (iii) was a supplier of DDGS and (iv) could and would supply Plaintiff with DDGS

in exchange for payment of $305,000.

       48.     Chase Bank knew that the Fraudulent Bank Account was opened using counterfeit

and false corporate documents of Alaxco and that Mr. Byishimo and Alaxco made the false,

fraudulent and material misrepresentations and omissions and engaged in the conduct described

herein, in order to induce Plaintiff to transfer $152,500 to the Fraudulent Bank Account to Mr.

Byishimo and Alaxco for a purported purchase of DDGS.

       49.     In opening the Fraudulent Bank account for Alaxco, Chase Bank (through its Chase

Bank Employee) knowingly and intentionally exercised commercially unreasonable banking

practices.

       50.     In opening the Fraudulent Bank Account for Alaxco, Defendant Chase Bank

(through its Chase Bank Employee) failed to act in good faith in opening the Fraudulent Bank

Account.

       51.     Chase Bank (through its Chase Bank Employee) aided and abetted and engaged in

fraud with Mr. Byishimo and Alaxco to allow them to get possession of Plaintiff’s $152,500 by

forgery, conversion and/or wrongful transfer using the Fraudulent Bank Account in the name of

Alaxco, under Mr. Byishimo’s sole control.

       52.     The Chase Bank Employee assisted and engaged in the fraud in his capacity as an

employee of Chase Bank and within the scope of his employment at Chase Bank.




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       53.       The actions undertaken by Chase Bank (through its Chase Bank Employee) were

so reckless that intent can be inferred.

       54.       Chase Bank (through its Chase Bank Employee) knew that Plaintiff would rely

upon the representation that Plaintiff’s money was going to Alaxco as a Texas limited liability

company.

       55.       The representations occurred when the Fraudulent Bank Account was opened and

later when Plaintiff’s wire was paid.

       56.       Plaintiff justifiably relied upon the representation that the money it wired had

actually gone to Alaxco to their detriment.

       57.       As a direct and proximate result of Chase Bank’s false, fraudulent and material

misrepresentations and omissions, Plaintiff has been damaged in an amount in excess of $152,500.

                                          COUNT III
                  Conversion - As to Defendants Heritier Byishimo and Alaxco

       58.       Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs as if restated herein.

       59.       By their wrongful exercise of dominion and control over Plaintiff’s monies, Mr.

Byishimo and Alaxco have wrongfully converted valuable property of Plaintiff to their own use

and benefit.

       60.       As a result of Mr. Byishimo’s and Alaxco’s conversion, Plaintiff has been damaged

in an amount in excess of $152,500.

                                          COUNT IV
               Unjust Enrichment - As to Defendants Heritier Byishimo and Alaxco

       61.       Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs as if restated herein.




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       62.     As set forth above, Mr. Byishimo and Alaxco fraudulently and intentionally

misappropriated funds from Plaintiff.

       63.     Plaintiff has received no benefit whatsoever for its provision of funds to Mr.

Byishimo and Alaxco.

       64.     Mr. Byishimo and Alaxco would be unjustly enriched, at Plaintiff’s expense, if they

were allowed to enjoy the benefits improperly derived from Plaintiff.

       65.     The fair value of the benefits conferred on and obtained by Mr. Byishimo and

Alaxco is the amount Plaintiff transferred to them ($152,500), plus interest.

       66.     Thus, Mr. Byishimo and Alaxco have been unjustifiably enriched, and Plaintiff

thereby damaged in an amount in excess of $152,500.

                                        COUNT V
  Negligence / Failure to Act with Ordinary Care Under the UCC and Texas Law – As to
                                       Chase Bank

       67.     Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs as if restated herein.

       68.     Chase Bank had a duty to conduct its banking affairs, and specifically to open

accounts and handle wires, in a reasonable manner and with ordinary care to protect others (like

Plaintiff) against unreasonable risks, and in accordance with the standards set forth by the Uniform

Commercial Code, including to enact and implement and comply with commercially reasonable

security procedures to protect against fraud, to act in good faith when handling accounts and wire

transfers, to enact and implement and comply with reasonable commercial standards of fair dealing

including in the context of fraudulent transfers, and to act with diligence in detecting fraudulent

instruments and transactions.




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       69.    Chase Bank breached its duties, including those arising under the Uniform

Commercial Code and Texas law.

       70.    As a result of Chase Bank’s breach, Plaintiff has been damaged in an amount in

excess of $152,500.

       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants as follows:

       (a)    Rescinding the Sales Contract;

       (b)    Compelling the return of Plaintiff’s funds;

       (c)    Imposing a constructive trust on Defendants Byishimo’s and Alaxco’s assets for

              the benefit of Plaintiff;

       (d)    Awarding punitive damages;

       (e)    Awarding Plaintiff compensatory damages in an amount to be proven at trial; and

       (f)    Awarding Plaintiff its costs, legal fees, interest, and/or granting such other and

              further relief as the Court may deem just and equitable.




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                                      Respectfully submitted,

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